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 7

 8
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                                  CASE NO: 2:10-CR-0255 GEB

12                           Plaintiff,
                                                                STIPULATION AND PROPOSED
13          v.                                                  ORDER MODIFYING TERMS OF
                                                                PRETRIAL RELEASE TO PERMIT
14   FRENCH GULCH NEVADA MINING                                 OUT OF STATE TRAVEL AND
     CORPORATION, BULLION RIVER                                 EMPLOYMENT
15   GOLD CORPORATION, PETER                                    _______________________________
     MARTIN KUHN, and KIEDOCK KIM,
16
                             Defendants.
17
     _____________________________/
18

19

20                                                 Background

21          The defendant, KIEDOCK KIM, was released on July 9, 2010, on an

22   appearance bond secured by $100,000 deposited with the Court. The conditions of

23   release, as modified by stipulation and order entered on October 4, 2010, currently

24   restrict the defendant’s travel to the Eastern District of California and the Northern

25   District of California.

26          The defendant, who is a Canadien citizen and a metallurgical engineer by

27   profession, has recently received formal approval from the Department of Homeland

28   Security to work in the United States as a non-immigrant employee. He has been

                                                     1
       Stipulation and Order Modifying Term s of Pretrial Release to Perm it Out of State Travel and Em ploym ent
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 1   offered employment by Bell Copper Corporation in Tucson, Arizona, as a full-time

 2   “Feasibility Study Manager.” The position, which is essential to the defendant’s

 3   continued ability to support himself, requires the defendant to report for duty on

 4   January 26, 2012, and to live in Tucson, Arizona. His duties will involve evaluating

 5   several properties in Arizona currently owned by the company for potential future

 6   mining activities, and also, certain property the company is reviewing in Nevada.

 7          The defendant will, if approved, travel to Tucson by automobile on January 24,

 8   2012, and will initially stay at a hotel until he is able to locate an apartment as soon

 9   as practicable. The defendant also anticipates returning to Northern California

10   periodically to visit with his fiancee who resides in Biggs, California.

11          He has previously filed a W aiver of Appearance but will make himself readily

12   available for any appearances in this case as he may be directed by the Court and

13   for trial. The defendant will also stay in regular contact with his attorneys throughout

14   the duration of his out-of-state employment.

15          This Court has previously approved travel outside of the United States to

16   Canada in order to permit the defendant to visit and assist his father during a

17   terminal illness and for his father’s funeral services.

18          Plaintiff United States of America, through its counsel, Assistant United States

19   Attorney Samuel W ong, has been made aware of this out-of-state employment and

20   does not oppose this application.

21                                                  Stipulation

22          Accordingly, the defendant, KIEDOCK KIM, through his counsel of record, and

23   plaintiff United States of America, through its counsel, Assistant United States

24   Attorney Samuel W ong, agree and stipulate that the condition of pre-trial release

25   restricting the defendant’s travel to the Eastern and Northern Districts of California

26   shall be modified as follows: The defendant shall be permitted to travel to and from

27   Tucson, Arizona, commencing on January 24, 2012, for the purpose of his out-of-

28   state employment with Bell Copper Corporation. W hile employed at Bell Copper

                                                     2
       Stipulation and Order Modifying Term s of Pretrial Release to Perm it Out of State Travel and Em ploym ent
       Case 2:10-cr-00255-TLN Document 50 Filed 01/24/12 Page 3 of 3

 1   Corporation, the defendant is permitted to reside in Arizona, and also, to travel within

 2   Arizona and Nevada as his job duties may require.

 3   Dated: January 20, 2012                         Respectfully submitted,

 4                                                   SEGAL & KIRBY LLP

 5
                                             By:     /s/ Malcolm Segal
 6                                                   MALCOLM SEGAL
                                                     Attorneys for Defendant
 7                                                   KIEDOCK KIM

 8   Dated: January 20, 2012                 By:     /s/ Samuel W ong
                                                     SAMUEL W ONG
 9                                                   Assistant United States Attorney
                                                     (By permission)
10

11                                                    ORDER

12          GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties,

13   the condition of pre-trial release restricting the defendant’s travel to the Eastern and

14   Northern Districts of California is modified as follows: The defendant shall be

15   permitted to travel to and from Tucson, Arizona, commencing on January 24, 2012,

16   for the purpose of his out-of-state employment with Bell Copper Corporation. While

17   employed at Bell Copper Corporation, the defendant is permitted to reside in

18   Arizona, and also, to travel within Arizona and Nevada as his job duties may require.

19   The defendant is also instructed to stay in regular contact with his attorneys

20   throughout the duration of his out-of-state employment, and notwithstanding his

21   waiver of appearance on file, shall personally appear in this case as may be ordered

22   by the Court.

23          IT IS SO ORDERED.

24   Dated: January 20, 2012
25

26                                                 GARLAND E. BURRELL, JR.
                                                   United States District Judge
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       Stipulation and Order Modifying Term s of Pretrial Release to Perm it Out of State Travel and Em ploym ent
